Case 3:20-cr-00104-SMR-SBJ Document 46 Filed 11/16/21 Page 1 of 10

IN THE IOWA DISTRICT COURT FOR Scordt COUNTY
MAGISTRATE DIVISION

 

STATE OF IOWA, FECR YD 3376
Plaintiff

S “Yo 4) 6
Ve FE CR 104) &7

SRY ee a’

Anton iO Lashawon Lc nel

Defendant

I promise to appear in the Magistrate Court, Courtroom,
Courthouse in Davenpor 4 , a C obt County, Iowa on the
ia day of Sepiem her 20.19 , at B30 am.

I acknowledge if I do not appear at the above time and place, my bond may be
forfeited and a warrant for my atrest issued.

Dated this Ib day of Deplembot , 20 LY :

at Tipton, Iowa.

 

  
 

— fod gy
wee / i/ /

Korth Scatt+Co Dawonporé Pa
Sane “Court LyteS
1-119 pd

S

  

DEFENDANT’
EXHIBIT

  
Case SOE POTTS EM AS ACO Te RK Hee diag? 2 Of 19

IN THE IOWA DISTRICT COURT FOR SCOTT COUNTY

STATE OF IOWA

 

 

Plaintiff, Case No: 07821 FECR403376
vs.
ANTONIO L WARFIELD ORDER ON INITIAL APPEARANCE
Defendant.
Appearances:

Defendant appears

Charges:

01 - 713.3 - BURGLARY 1ST DEGREE

02 - 713.6A(2) - BURGLARY 3RD DEGREE - MOTOR VEHICLE

03 - 708.2(2) - ASSAULT CAUSING BODILY INJURY OR MENTAL ILLNESS
04 - 708,2(2) - ASSAULT CAUSING BODILY INJURY OR MENTAL ILLNESS

Related Cases: The cases below shall follow this matter for scheduling and disposition.
07821 SMCR403377 - STATE OF IOWA VS WARFIELD, ANTONIO

01 - 716.6(2) CRIMINAL MISCHIEF 5TH DEGREE

02 - 716.6(2) CRIMINAL MISCHIEF 5TH DEGREE

Upon review of the complaint and any accompanying affidavits, the Court finds that there is
probable cause to believe that Defendant has committed the offense(s) as indicated above.

The Court informed Defendant of the nature of the charge(s) and the maximum and minimum
sentencing consequences of that/those charge(s). The Court also informed Defendant of his/her
absolute right to remain silent, that anything Defendant says will be used against him/her, and of his/
her right to an attorney. An attorney will be appointed for Defendant if an application is made to the
Court and Defendant qualifies for a court appointed attorney.

REPRESENTATION BY COUNSEL
Defendant requests court appointed counsel. The request is granted based on the finding by the
Court that Defendant is indigent and eligible for court appointed counsel. The Public Defender's Office
is appointed to represent Defendant in this matter. The Public Defender's Office can be reached by
phone at (563) 323-3400.
UPCOMING DATES

~ DEFENDANT’S
EXHIBIT

ib 1of3

 
Case 320 CE POLE SM RSE Ss Ace ter hs lal dE 3 Of 10

Defendant is entitled to a preliminary hearing unless Defendant waives this hearing or unless
the County Attorney files a trial information against Defendant prior to the date scheduled for the
preliminary hearing.

Defendant demands preliminary hearing, Therefore, Further Proceedings are scheduled on
09/24/2019 at 08:30 AM at the Scott County Courthouse, 400 W 4th St, Davenport, IA 52801.
Both appointed counsel and Defendant, if not in custody, must appear. Additionally, Preliminary

Hearing is scheduled on 10/04/2019 at 10:30 AM at the Scott County Courthouse, 400 W 4th St,
Davenport IA 52801.

RELEASE PROVISIONS

Conditions of release shall remain as previously set.

ALL ABOVE IS SO ORDERED this 17th day of September, 2019.

The Clerk shall notify all self-represented litigants, attorneys of record, appointed counsel, and (if
supervised release has been granted) the Department of Correctional Services. If Defendant is in
custody, the Clerk shall notify the SCOTT COUNTY Sheriff's Office.

The Court has provided a copy to the Defendant.

If you need assistance to participate in court due to a disability, call the disability coordinator at (563) 328-4145 or
information at https://www.iowacourts.gov/for-the-public/ada/. Persons who are hearing or speech impaired may call Relay
lowa TTY (1-800-735-2942). Disability coordinators cannot provide legal advice.

7CRO11

2 of 3
Case SOGOU TE EY AS Ad RTP BE METAL aT sage 4 of 10

  

State of Iowa Courts
Case Number Case Title

FECR403376 STATE OF IOWA VS WARFIELD, ANTONIO
Type: HEARING FOR INITIAL APPEARANCE

So Ordered

MEW

Michael Motto, Magistrate
Seventh Judicial District of lowa

 

Electronically signed on 2019-09-17 09:15:10

3 of 3
IN THE lOWA DISTRICT COURT FOR SCOTT COUNTY

STATE OF IOWA,

Plaintiff, Criminal No. FECP ¥)3.3 7(,
ENTRY OF APPEARANCE AND
ELECTION TO WAIVE
PRELIMINARY HEARING

VS

Antonio (arlielel_,

Defendant.

Attorney John O. Moeller hereby enters his appearance and the defendant, after
consultation with counsel, makes a knowing election to waive preliminary hearing in the

above-captioned case.

Dated this AS day of Sepiken fer , 20 Lo ;

 

Ovrok approve

Defendan

AN
Attorney John O. Moeller
Attorney for Defendant
601 Brady Street, Ste. 303
Davenport, lowa 52803
563-323-3014
john@johnmoeller.com

DEFENDANT’S

     
Case 3 OOOO TOT eed Document 46 Filed 11/16/21

age 6 of 10
E-FILED 2019 SEP

P
3 4:20 PM SCOTT - CLERK OF DISTRICT COU

IN THE IOWA DISTRICT COURT FOR SCOTT COUNTY

STATE OF IOWA,

Plaintiff, Criminal No, E Ei Let dee: Lio]
vs, ENTRY OF APPEARANCE AND
. . ELECTION TO WAIVE
Anon LO Lowry-Cre id. PRELIMINARY HEARING

 

Defendant.

Attorney John O. Moeller hereby enters his appearance and the defendant, after
consultation with counsel, makes a knowing election to waive preliminary hearing in the

above-captioned case.

Dated this 52.5 day of Septem her 20/7,

Oval approve

Defendant .
7

 

 

 

EE.

orney John O. Moeller
Attorney for Defendant
601 Brady Street, Ste. 303
Davenport, lowa 52803
563-323-3014
john@johnmoeller.com

 

DEFENDANT'S
EXHIBIT

    
 
Case 3:20-cr-00104-SMR-SBJ D i
KE ED 3019 : S : J ocument 46 Filed 11/16/21 Page 7 of 10

IN THE IOWA DISTRICT COURT FOR SCOTT COUNTY

 

STATE OF IOWA

Plaintiff 07821 FECR403376
VS
ORDER
ANTONIO L WARFIELD

Defendant

 

 

Defendant appears in custody, Cash Bond was posted in Cedar County on 9/12/2019. Scott County
Sheriff's Department was not notified of it.

Therefore release defendant on this case to appear for future court dates

lf you need assistance to participate in court due to a disability, call the disability coordinator at (563)
328-4145 or information at https://www.iowacourts.gov/for-the-public/ada/. Persons who are hearing
or speech impaired may call Relay lowa TTY (1-800-735-2942). Disability coordinators cannot
provide legal advice.

DEFENDANT’S
EXHIBIT

Ee

1 of 2

 
age 8 of 10

Cc

 

State of Iowa Courts

Case Number Case Title
FECR403376 STATE OF IOWA VS WARFIELD, ANTONIO
Type: OTHER ORDER

So Ordered

ou A cun

Cheryl Traum, Bistrict Associate Judge,
Seventh Judicial District of lowa

Electronically signed on 2019-10-23 09:39:55

2 of 2
Case 3:20-cr-00104-SMR-SBJ Document 46 Filed 11/16/21 Page 9 of 10
E-FILED 2019 OCT 23 9:40 AM SCOTT - CLERK OF DISTRICT count

IN THE IOWA DISTRICT COURT FOR SCOTT COUNTY

STATE OF IOWA
Plaintiff 07821 FECR404167

VS
ORDER
ANTONIO LASHAWN WARFIELD

Defendant

 

 

Defendant appears in custody, Cash Bond was posted in Cedar County on 9/12/2019. Scott County
Sheriff's Department was not notified of it.

Therefore release defendant on this case to appear for future court dates

If you need assistance to participate in court due to a disability, call the disability coordinator at (563)
328-4145 or information at https://www.iowacourts.gov/for-the-public/ada/. Persons who are hearing
or speech impaired may call Relay lowa TTY (1-800-735-2942). Disability coordinators cannot

provide legal advice.

  

DEFENDANT?
EXHIBIT. ©

     
 

ee

  

1 of 2
Case 3:20-61-00

E-FILE GARE 10 of 10

 

State of Iowa Courts
Case Number Case Title
FECR404167 STATE OF IOWA VS WARFIELD, ANTONIO LASHAWN
Type: OTHER ORDER
So Ordered

 

 

Cheryl Traum, District Associate Judge,
Seventh Judicial District of lowa

Electronically signed on 2019-10-23 09:40:38

2 of 2
